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                                         EXHIBIT 2
                                                                       DINSMORE & SHOHL LLP
                                                                       City Center
                                                                       100 West Main Street
                                                                       Suite 900
                                                                       Lexington, KY 40507
                                                                       www.dinsmore.com

                                                                       Kristeena L. Johnson
                                                                       (859) 425-1032 (direct) ^ (859) 425-1099 (fax)
                                                                       Kristeena.johnson@dinsmore.com




                                             June 21, 2023

 VIA EMAIL

 Ned Pillersdorf
 Pillersdorf Law Offices
 124 West Court Street
 Prestonsburg, KY 41653
 pillersn@gmail.com


        Re:     Baker, et al. v. Blackhawk Mining, LLC and Pine Branch Mining, LLC, No.
                5:22-CV-231 (E.D. Ky.)

 Dear Ned:

         The extended deadline of June 20, 2023 set forth in the Court’s May 18, 2023 Order for
 the Plaintiffs to provide responses to the Defendants’ written discovery has now passed. However,
 there continue to be a number of requests that numerous Plaintiffs have yet to respond to. Please
 allow this letter to serve as an additional attempt to meet and confer on these matters. I would also
 like to set up a call this week or early next week with Magistrate Judge Stinnett to see if we can
 resolve these issues given the Court’s additional deadline of July 5, 2023 to file any motions related
 to discovery.

   I.   Requests to Which All Plaintiffs Have Continued to Fail to Respond
         While we have received supplemental responses from some, but not all, Plaintiffs in
 response to our prior deficiency letters, there continue to be several requests to which the Plaintiffs,
 as a group, have failed to respond given their use of the deficient Form which does not capture
 certain requests. This issue was first outlined in my letter dated February 21, 2023. As previously
 noted, Joint Local Rule 26.1(a)’s requirement that a party, in answering a discovery request, repeat
 the question or request immediately before the answer, is meant to prevent just this situation.
        The most prevalent requests to which the Plaintiffs as a group have failed to respond
 because they are not included on the Form document include the following:
        Blackhawk Interrogatory No. 12: To the extent you seek damages for emotional distress,
        humiliation, and/or pain and suffering, describe with specificity all facts which you contend
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            support such a claim for damages; any treatment or counseling you have received
            following the flooding event, identifying specifically the service providers involved in any
            such treatment/counseling and the dates on which treatment/counseling was provided; and
            any treatment/counseling you were receiving prior to the flood event at issue for any mental
            and/or emotional disorders and/or conditions, identifying specifically the service providers
            involved in any such treatment/counseling and the dates of any such treatment/counseling.

            Blackhawk Request for Production No. 15: To the extent you are seeking damages for
            emotional distress, humiliation, and/or pain and suffering, produce all documents and
            communications concerning your claim for such damages.

            Blackhawk Request for Production No. 16: To the extent you are seeking damages for
            emotional distress, humiliation, and/or pain and suffering, produce all documents and
            communications concerning any treatment or counseling you have received following the
            flood event alleged in your Complaint.

            Blackhawk Request for Production No. 17: To the extent you are seeking damages for
            emotional distress, humiliation, and/or pain and suffering, produce all documents and
            communications concerning any treatment or counseling received in connection with any
            mental or emotional condition or disorder prior to the flood event alleged in the Complaint.

     II.    Plaintiffs That Have Failed to Provide Addresses for the Property Claimed to Have
            Been Impacted1

         There are eight Plaintiffs that have failed to provide a specific address for the property
 impacted by the flood event. While some of these Plaintiffs list their current addresses on the
 Forms you’ve provided it is not clear whether that address is the same as the one that the Plaintiff
 is claiming was impacted by the flood. It is imperative that clear answers be provided as the
 location of the specific property will likely impact how the Plaintiffs are segregated into bellwether
 groups. The Plaintiffs with deficient responses include:

                    1.   Raymond Baker
                    2.   Vada Baker
                    3.   Anita Henson
                    4.   John Robertson
                    5.   Adam White
                    6.   Megan White
                    7.   Dewey White Heirs2
                    8.   Shannon Vaughn White


 1
     Blackhawk Interrogatory No. 3.
 2 Defendants continue to reserve all rights with respect to whether an individual not specifically named in this action

 has standing to seek recovery of any damages.
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 III.       Plaintiffs That Have Failed to Produce Documents Evidencing Ownership of Real
            Property3

         Thirty-five Plaintiffs have failed to produce documents evidencing their ownership/interest
 in real property that has been identified by each as impacted by the flood event. These documents
 are critical to determining whether or not the referenced Plaintiffs have standing to demand
 damages for harm alleged to the real property identified and should be produced. The thirty-five
 Plaintiffs include:

                      1. Lester Baker
                      2. Raymond G. Baker
                      3. Alberta Bush
                      4. Amy Dryden and Bruce Dryden4
                      5. Clay and Monica Fugate
                      6. Gregory Chase Hays
                      7. Anissa and Timothy Dean Henson
                      8. Anita Henson
                      9. Ellen Henson
                      10. Barbara Henson and Willie Ray Henson
                      11. Elizabeth Miller
                      12. Diana Ortela
                      13. Aaron Wayne White
                      14. Delbert White and Lisa White
                      15. Dewey White Heirs
                      16. Raymond and Vada Baker
                      17. Lou Miller
                      18. Johnny E. Mullins
                      19. Matilda Raney
                      20. John Robertson
                      21. Brian Strong
                      22. William and Darlene Thorpe
                      23. Adam and Megan White
                      24. Ashford White
                      25. Birchel and Rachel White
                      26. Brittany White
                      27. Burley and Denita White

 3
     Blackhawk Request for Production Nos. 3 and 4.
 4
     For ease of reference, married couples are at times listed as “one” Plaintiffs.
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                    28. Elijah White
                    29. Harold Ray White
                    30. Jason White
                    31. Jeffery Gran White
                    32. Loretta White
                    33. Matthew White
                    34. Rose White
                    35. Shannon Vaughn White

 IV.        Plaintiffs that Have Failed to Provide Information on Improvements to Real
            Property5

        Fifty Plaintiffs have failed to provide the requested information on structures built on and
 improvements made to identified pieces of real property alleged to have been impacted by the
 flood event and/or supporting documentation related to the same. This information is crucial in
 evaluating the damages alleged by each Plaintiff. The fifty Plaintiffs include:

                    1. Eugene Baker
                    2. Lester Baker
                    3. Farmer Baker
                    4. Raymond G. Baker
                    5. Alberta Bush
                    6. Benjamin Craft
                    7. Bridgette Fugate
                    8. Clay and Monica Fugate
                    9. Angelia Kay Henson
                    10. Anissa and Timothy Dean Henson
                    11. Ellen Henson
                    12. Barbara Henson and Willie Ray Henson
                    13. Elizabeth Miller
                    14. Billy Joe Mullins
                    15. Diana Ortela
                    16. Aaron Wayne White
                    17. Deborah White
                    18. Delbert White and Lisa White
                    19. Dewey White Heirs
                    20. Greta White and Richard White
                    21. Jennifer Baker

 5
     Blackhawk Interrogatory No. 5; Blackhawk Interrogatory No. 6; Blackhawk Request for Production No. 6.
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                  22. Patricia Baker
                  23. Lou Miller
                  24. Luranie Noble
                  25. Madro Noble
                  26. Matilda Raney
                  27. John Robertson
                  28. Melvin Rupert and Debbie Watts
                  29. Cassandra Scotland
                  30. Brian Strong
                  31. Brown Strong
                  32. James Strong
                  33. Adam and Megan White
                  34. Birchel and Rachel White
                  35. Burley and Denita White
                  36. Elijah White
                  37. Etta White
                  38. Faye White
                  39. Harold Ray White
                  40. Jason White
                  41. Jeffery Gran White
                  42. Jerson White
                  43. Loretta White
                  44. Matthew White
                  45. Mollie White
                  46. Ronald White
                  47. Rose White
                  48. Shannon Vaughn White
                  49. Vaughn White
                  50. Wade White


     V.   Plaintiffs That Have Failed to Provide Requested Information Related to Well Water
          Claims6

        Twenty-eight Plaintiffs have failed to provide requested information and/or documentation
 on their claims related to alleged well water pollution/destruction. The information requested,

 6
  Pine Branch Interrogatory No. 9; Blackhawk Interrogatory No. 11; Pine Branch Request for Production No. 7; Pine
 Branch Request for Production No. 8; Pine Branch Request for Production No. 9; Pine Branch Request for Production
 No. 10; Blackhawk Request for Production No. 14.
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 which includes, among other things, the manner in which the Plaintiffs contend their well was
 destroyed, interrupted, and/or polluted, as well as the specific pollutant and how the pollutant
 infiltrated the well, is crucial to understanding the Plaintiffs’ claims related to well water
 destruction. To the extent the Plaintiffs are foregoing such claims, given their lack of information,
 that should be noted as well. The twenty-eight Plaintiffs include:

                1. Lester Baker
                2. Raymond G. Baker
                3. Carl W. Asher
                4. Alberta Bush
                5. Amy Dryden and Bruce Dryden
                6. Bridgette Fugate
                7. Gregory Chase Hays
                8. Anissa and Timothy Dean Henson
                9. Anita Henson
                10. Ellen Henson
                11. Barbara Henson and Willie Ray Henson
                12. Billy Joe Mullins
                13. Barbara Neace
                14. Diana Ortela
                15. Deborah White
                16. Dewey White Heirs
                17. Lou Miller
                18. Madro Noble
                19. Matilda Raney
                20. Cassandra Scotland
                21. Birchel and Rachel White
                22. Faye White
                23. Harold Ray White
                24. Jay D. White
                25. Jeffery Gran White
                26. Loretta White
                27. Shannon Vaughn White
                28. Wade White
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 VI.      Plaintiffs That Have Failed to Produce Photographs/Videos Related to the Flood
          Event7

         Twelve Plaintiffs have failed to produce any photographs or video related to the flood
 event, including any damage claimed to have been inflicted as a result of the flood event. To the
 extent these individuals have such evidence, it should be produced, especially given the nature of
 the Plaintiffs’ claims for property damage. If no such documentation exists, that should be so
 stated. The twelve Plaintiffs include:

                   1. Raymond G. Baker
                   2. Alberta Bush
                   3. Clay and Monica Fugate8
                   4. Gregory Chase Hays
                   5. Elizabeth Miller9
                   6. Diana Ortela
                   7. Adam and Megan White
                   8. Ashford White
                   9. Brittany White
                   10. Harold Ray White
                   11. Jeffery Gran White
                   12. Shannon Vaughn White

VII.      Plaintiffs That Have Failed to Produce Requested Information Related to
          Relocation10

         Twenty-nine Plaintiffs have failed to provide information related to claims for
 relocation/displacement damages and/or documentation supporting their claims. To the extent
 these individuals intend to seek a recovery based on relocation/displacement this information is
 highly relevant and should be provided. If these Plaintiffs are no longer claiming these damages
 and/or do not have any support for their claims, that should be so stated. The twenty-nine Plaintiffs
 include:

                   1. Carl W. Asher


 7
   Pine Branch Request for Production No. 2.
 8
   Ms. Fugate produced an affidavit on 06/19/2023 stating that she has video related to the flood but the video has not
 been produced.
 9
    Ms. Miller has indicated on her Form response that she has video related to the flood but has yet to produce the
 video.
 10
    Blackhawk Interrogatory No. 6; Blackhawk Interrogatory No. 13; Blackhawk Request for Production No. 21.
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                     2. Farmer Baker
                     3. Lester Baker
                     4. Alberta Bush
                     5. Benjamin Craft
                     6. Clay and Monica Fugate
                     7. Gregory Chase Hays
                     8. Barbara Henson and Willie Ray Henson
                     9. Billy Joe Mullins
                     10. Diana Ortela
                     11. Raymond and Vada Baker
                     12. Lisa Holbrook
                     13. Lou Miller
                     14. Luranie Noble
                     15. Matilda Raney
                     16. John Robertson
                     17. Brian Strong
                     18. James Strong
                     19. Adam and Megan White
                     20. Ashford White
                     21. Birchel and Rachel White
                     22. Brittany White
                     23. Burley and Denita White
                     24. Faye White
                     25. Jason White
                     26. Matthew White
                     27. Rose White
                     28. Shannon Vaughn White
                     29. Wade White

VIII.       Plaintiffs That Have Failed to Provide Information Concerning Prior Legal Actions11

         Twelve Plaintiffs have failed to provide requested details related to prior civil actions.
 Moreover, the Plaintiffs as a whole, even with supplementation, have generally failed to provide
 clear information regarding whether they have been involved in any prior criminal actions.
 Information related to both criminal and civil actions is routinely provided in the course of
 discovery in a lawsuit given that it may lead to the discovery of admissible and relevant evidence



 11
      Pine Branch Interrogatory No. 11.
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 and in particular evidence ripe for use with impeachment. The twelve Plaintiffs that have failed to
 provide requested details on prior civil actions include:

                   1. Eugene Baker
                   2. Alberta Bush
                   3. Gregory Chase Hays
                   4. Anissa and Timothy Dean Henson
                   5. Barbara Henson and Willie Ray Henson
                   6. Aaron Paul White and Vicie White
                   7. Mason and Vickie Henson
                   8. Adam and Megan White
                   9. Ashford White
                   10. Birchel and Rachel White12
                   11. Brittany White
                   12. Shannon Vaughn White


 IX.      Plaintiffs That Have Failed to Identify Social Media Accounts and Posts Related to
          the Flood Event13

        Twenty-nine Plaintiffs have failed to produce information related to their social media
 accounts and/or social media posts that they have authored related to their allegations in the
 Complaint or the flood event or the Defendants more generally. The Plaintiffs’ own statements
 about their allegations and the flood event at issue are certainly relevant to this action and should
 be produced. These twenty-nine Plaintiffs include:

                   1.   Carl W. Asher
                   2.   Eugene Baker
                   3.   Lester Baker
                   4.   Raymond G. Baker
                   5.   Alberta Bush
                   6.   Bridgette Fugate
                   7.   Clay and Monica Fugate
                   8.   Gregory Chase Hays
                   9.   Ellen Henson

 12
    The Whites previously indicated on the Form submitted that they have not been involved in prior civil actions but
 have recently responded with a “?” in their supplemental responses received on June 20, 2023 in response to the
 request asking about prior legal actions. As such, clarification is needed as to whether they have been involved in prior
 legal actions.
 13
    Pine Branch Int. No. 20; Pine Branch Request for Production No. 22.
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                   10. Barbara Henson and Willie Ray Henson
                   11. Mason Jr. and Vickie Henson
                   12. Elizabeth Miller
                   13. Diana Ortela
                   14. Aaron Wayne White
                   15. Delbert White and Lisa White
                   16. Dewey White Heirs
                   17. Patricia Baker
                   18. Lisa Holbrook
                   19. Lou Miller
                   20. Johnny E. Mullins
                   21. Matilda Raney
                   22. John Robertson
                   23. Brian Strong
                   24. Adam and Megan White
                   25. Ashford and Brittany White
                   26. Jason White
                   27. Jerson White
                   28. Loretta White
                   29. Shannon Vaughn White


   X.     Plaintiffs That Have Failed to Produce Information/Documentation Related to
          Aid/Assistance14

          Forty-eight Plaintiffs have failed to provide requested information/documentation related
  to aid and/or assistance applications and awards resulting from the flood event at issue. Again,
  such information, as it concerns damages alleged to have resulted from the flood, is relevant and
  should be produced. If the Plaintiffs have not applied for any such aid/assistance they should so
  state. The forty-eight Plaintiffs include:

                   1.   Carl W. Asher
                   2.   Eugene Baker
                   3.   Farmer Baker15
                   4.   Raymond G. Baker
                   5.   Alberta Bush
                   6.   Benjamin Craft

  14
     Pine Branch Interrogatory No. 15; Pine Branch Request for Production No. 17.
  15
     Mr. Herald indicated in his June 16, 2023 letter that Mr. Baker’s FEMA application was denied and that he had
  attached the application and the denial letter. However, these documents were not attached to Mr. Herald’s letter.
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              7. Amy Dryden and Bruce Dryden
              8. Bridgette Fugate
              9. Gregory Chase Hays
              10. Anissa and Timothy Dean Henson
              11. Anita Henson
              12. Ellen Henson
              13. Barbara Henson and Willie Ray Henson
              14. Elizabeth Miller
              15. Freddie Wayne and Geraldine Mullins
              16. George and Sherry Mullins
              17. Barbara Neace
              18. Diana Ortela
              19. Aaron Paul White and Vicie White
              20. Aaron Wayne White
              21. Deborah White
              22. Delbert White and Lisa White
              23. Greta White and Richard White
              24. Shannon Vaughn White
              25. Michael and Alicia Baker
              26. Patricia Baker
              27. Raymond and Vada Baker
              28. Mason Lee and Shirley Henson
              29. Lisa Holbrook
              30. Lou Miller
              31. Johnny E. Mullins
              32. Luranie Noble
              33. Madro Noble
              34. Melvin Rupert and Debbie Watts
              35. Cassandra Scotland
              36. William and Darlene Thorpe
              37. Ashford White
              38. Birchel and Rachel White
              39. Brittany White
              40. Burley and Denita White
              41. Etta White
              42. Faye White
              43. Harold White
              44. Harold Ray White
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                   45. Jason White
                   46. Jay D. White
                   47. Loretta White
                   48. Mollie White

  XI.     Plaintiffs That Have Failed to Provide Current Employment Addresses16

          Eighteen Plaintiffs have failed to provide their current employment address. This too is a
  routine request for information. To the extent these individuals are not currently employed, they
  should so state. The eighteen Plaintiffs include:

                   1. Alberta Bush
                   2. Gregory Chase Hays
                   3. Anissa Henson
                   4. Barbara Henson and Willie Ray Henson
                   5. Elizabeth Miller
                   6. Billy Joe Mullins
                   7. Diana Ortela
                   8. Aaron Wayne White
                   9. Dewey White Heirs
                   10. Greta White
                   11. Raymond and Vada Baker
                   12. Johnny E. Mullins
                   13. Etta White
                   14. Jeffery Gran White
                   15. Loretta White
                   16. Matthew White
                   17. Rose White
                   18. Shannon Vaughn White

 XII.     Plaintiffs That Have Failed to Provide Information Related to Insurance17

          Twenty-seven Plaintiffs have failed to provide requested information and/or
  documentation related to insurance applicable to any piece of property at issue and claims made
  to the same as a result of the flood. Such information is certainly relevant in a case like this where
  property damage is asserted and should be produced. To the extent no insurance existed at the
  time of the flood and/or no claims have ever been made, that should be stated.


  16
    Pine Branch Interrogatory No. 1.
  17
    Pine Branch Interrogatory No. 14; Pine Branch Request for production No. 14; Pine Branch Request for
  Production No. 15.
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                      1. Carl W. Asher
                      2. Alberta Bush
                      3. Benjamin Craft
                      4. Amy Dryden and Bruce Dryden
                      5. Bridgette Fugate
                      6. Gregory Chase Hays
                      7. Ellen Henson
                      8. Barbara Henson and Willie Ray Henson
                      9. George and Sherry Mullins
                      10. Aaron Wayne White
                      11. Delbert White and Lisa White
                      12. Greta White and Richard White
                      13. Michael and Alicia Baker
                      14. Lisa Holbrook
                      15. Johnny E. Mullins
                      16. Joshua Mullins
                      17. Luranie Noble
                      18. Melvin Rupert and Debbie Watts
                      19. John Robertson
                      20. Brian Strong
                      21. Adam and Megan White
                      22. Etta White
                      23. Jerson White
                      24. Loretta White
                      25. Shelvin White
                      26. Shannon Vaughn White
                      27. Wade White

XIII.        Plaintiffs That Have Failed to Identify Relatives Residing in Counties From Which
             the Jury Pool Will Be Summoned18

          Fifty-six Plaintiffs have failed to provide comprehensive information on their relatives
  residing in the counties from which a jury pool will be summoned. This is a standard request and
  the information sought is necessary in ensuring that a fair and impartial jury is impaneled in this
  action. The fifty-six Plaintiffs include:

                      1. Carl W. Asher
                      2. Jennifer Baker

  18
       Pine Branch Interrogatory No. 17.
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              3. Eugene Baker
              4. Farmer Baker
              5. Lester Baker
              6. Michael and Alicia Baker
              7. Patricia Baker
              8. Raymond Baker
              9. Raymond G. Baker
              10. Vada Baker
              11. Alberta Bush
              12. Amy Dryden
              13. Bruce L. Dryden
              14. Bridgette Fugate
              15. Gregory Chase Hays
              16. Angelia Kay Henson
              17. Anissa Henson
              18. Anita Henson
              19. Barbara Henson
              20. Ellen Henson
              21. Mason Lee and Shirley Henson
              22. Mason Jr. and Vickie Henson
              23. Timothy Henson
              24. Willie Ray Henson
              25. Elizabeth Miller
              26. Johnny E. Mullins
              27. Billy Joe Mullins
              28. George and Sherry Mullins
              29. Joshua Mullins
              30. Diana Ortela
              31. Matilda Raney
              32. John Robertson
              33. Melvin Rupert
              34. Cassandra Scotland
              35. Brian Strong
              36. Brown Strong
              37. Darlene Thorpe
              38. William Thorpe
              39. Debbie Watts
              40. Aaron Wayne White
              41. Adam and Megan White
              42. Birchel and Rachel White
              43. Burley White
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                   44. Deborah White
                   45. Delbert and Lisa White
                   46. Elijah White
                   47. Greta and Richard White
                   48. Denita White
                   49. Dewey White Heirs
                   50. Jason White
                   51. Jeffery Gran White
                   52. Loretta White
                   53. Matthew White
                   54. Ronald Darris White
                   55. Shannon Vaughn White 19
                   56. Wade White
XIV.      Plaintiffs That Have Failed to Identify Other Plaintiff Relatives20

          Fifty-five Plaintiffs have failed to comprehensively identify who among the other Plaintiffs
  are their relatives. This information is needed to determine how to potentially split the Plaintiffs
  into bellwether groups for trial. The fifty-five Plaintiffs include:

                   1. Carl W. Asher
                   2. Eugene Baker
                   3. Farmer Baker
                   4. Lester Baker
                   5. Michael and Alicia Baker
                   6. Patricia Baker
                   7. Raymond Baker
                   8. Raymond G. Baker
                   9. Vada Baker
                   10. Alberta Bush
                   11. Amy Dryden
                   12. Bruce L. Dryden
                   13. Bridgette Fugate
                   14. Gregory Chase Hays
                   15. Anissa Henson
                   16. Anita Henson
                   17. Barbara Henson
                   18. Ellen Henson


  19
     While Mr. White has provided information related to relatives of Amy Henson and Kaden White, he has not
  provided the same information related to himself.
  20
     Pine Branch Int. No. 18.
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                 19. Mason Lee and Shirley Henson
                 20. Mason Jr. and Vickie Henson
                 21. Timothy Henson
                 22. Willie Ray Henson
                 23. Billy Joe Mullins
                 24. George and Sherry Mullins
                 25. Johnny E. Mullins
                 26. Joshua Mullins
                 27. Diana Ortela
                 28. Matilda Raney
                 29. John Robertson
                 30. Melvin Rupert
                 31. Brian Strong
                 32. Darlene Thorpe
                 33. William Thorpe
                 34. Debbie Watts
                 35. Aaron Wayne White
                 36. Adam and Megan White
                 37. Ashford and Brittany White
                 38. Birchel and Rachel White
                 39. Delbert and Lisa White
                 40. Deborah White
                 41. Denita White
                 42. Dewey White Heirs
                 43. Elijah White
                 44. Harold White
                 45. Harold Ray White
                 46. Jason White
                 47. Jeffery Gran White
                 48. Jerson White
                 49. Loretta White
                 50. Matthew White
                 51. Ronald Darris White
                 52. Rose White
                 53. Shannon Vaughn White
                 54. Shelvin White
                 55. Wade White
          I am hopeful that we can reach a resolution on the above but, given the deadlines set forth
  in the Court’s Scheduling Order, we will go ahead and reach out to Magistrate Judge Stinnett’s
  Chambers to request available dates for a conference call.
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                                        Sincerely,

                                        /s/ Kristeena L. Johnson



  GNM/KLJ
